               Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 1 of 50




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION


              UNITED STATES OF AMERICA,


              v.                                        CRIMINAL ACTION NO.
                                                        1:12-CR-319-TCB-LTW
              JUAN MACEDO MALDONADO,

                      Defendant.


             MAGISTRATE JUDGE’S FINAL REPORT AND RECOMMENDATION AND
                    ORDER CERTIFYING THIS CASE READY FOR TRIAL

                   This case is before the court on Defendant Juan Maldonado’s Motion to Suppress

             Search and Statement (Doc. 121), Motions to Suppress Intercepted Communications

             (Doc. 122, 158), Motion to Sever (Doc. 123), Motion to Suppress Search (Doc. 159),

             and Particularized Motion to Suppress Search of Residence and Statement (Doc. 207).

             For the reasons that follow, Defendant’s Motions to Suppress should be DENIED.

             Docket Entries [121, 122, 158, 159, 207]. Defendant’s Motion to Sever is hereby

             DEFERRED to the District Court for adjudication. Docket Entry [123].

             DEFENDANT’S MOTIONS TO SUPPRESS EVIDENCE OBTAINED FROM
             SEARCHES OF HIS VEHICLE AND RESIDENCE AND TO SUPPRESS HIS
                                   STATEMENTS

                   On September 25, 2012, the grand jury charged Defendant Juan Macedo

             Maldonado (“Defendant”) with (1) conspiracy to distribute and possess with the intent




AO 72A
(Rev.8/82)
                  Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 2 of 50




             to distribute a mixture and substance containing cocaine hydrochloride and a mixture

             containing methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii);

             (2) conspiracy to transfer funds and currency from the United States to Mexico in order

             to promote the felonious manufacture, importation, receiving, concealment, buying,

             selling and otherwise dealing with a controlled substance and with intent to conceal the

             proceeds of the unlawful activity in violation of 18 U.S.C. § 1956(h); and (3) interstate

             communication of a threat to kidnap or injure another person with intent to extort from

             another money or a thing of value in violation of 18 U.S.C. §§ 2, 875. Docket Entry

             [19].

                     Defendant has filed multiple Motions to Suppress Evidence seized from searches

             of his residence as well as a motion to suppress statements he made to law enforcement

             officers. Therein, Defendant argues evidence obtained from the search of his residence

             should be suppressed because his consent for the search was obtained through

             intimidation and coercion and was the product of an illegal Terry stop of his vehicle.

             Defendant also contends that statements he made to law enforcement officers at his

             home should be suppressed because they were not voluntarily provided.

             I.      FACTUAL BACKGROUND

                     During 2011 and 2012, the Drug Enforcement Agency (“DEA”), with the help of

             some deputized task force officers from local police departments, were investigating

             what they believe to be a Mexican-based drug trafficking organization (“MDTO”),

             operating with cells in Atlanta, Raleigh, North Carolina, and other parts of the United

                                                        2


AO 72A
(Rev.8/82)
               Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 3 of 50




             States. (Tr. 9-10). Based on information gathered during intercepted telephone calls

             in late 2011, law enforcement officers believed that Defendant was a multi-kilogram

             distributor of methamphetamine and cocaine and a source of supply for people in

             Atlanta, Raleigh, and North Carolina. (Tr. 11-12). Defendant became one of the

             primary targets of the investigation. (Id.).

                   A.     Law Enforcement Officers Search a Mustang They Associated With
                          Defendant and Believed to be Carrying a Suitcase Full of Contraband

                   On April 18, 2012, Deputy Task Force Officer Charles Kevin Cloninger (“DTFO

             Cloninger”) was driving by an apartment that law enforcement believed to be a stash

             house for storing drugs or money. (Tr. 13-14). DTFO Cloninger observed co-

             defendant, Gabriel Macedo Maldonado, and another male, looking around while loading

             a suitcase into a grey Ford Mustang associated with Defendant and his associates. (Tr.

             9, 13-14). DTFO Cloninger concluded that the suitcase was heavy because it took two

             hands to pick it up and put it in the trunk of the car. (Tr. 15). The two men did not have

             any other luggage. (Tr. 15). Based on DTFO Cloninger’s training and experience, he

             believes suitcases are a common concealment method for drugs and money because

             suitcases may be moved freely in public without drawing a lot of suspicion. (Tr. 15).

             DTFO Cloninger also observed that after he drove by, the men waited several minutes

             before leaving the parking lot where the Mustang was located. (Tr. 21).

                   After the men departed in the Mustang, DTFO Cloninger began to follow it

             because he believed a drug transaction was occurring. (Tr. 15). DTFO Cloninger


                                                            3


AO 72A
(Rev.8/82)
               Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 4 of 50




             noticed that the Mustang made a couple of quick turns and both men in the Mustang

             appeared to be looking around. (Tr. 16). DTFO Cloninger testified that it appeared that

             their behavior was consistent with counter surveillance because looking around and

             making quick and unexpected turns helps individuals detect whether others are

             following them. (Tr. 16). Because DTFO Cloninger did not want the men to know he

             was following them, he pulled off the road and requested that other agents follow the

             Mustang. (Tr. 16). The members of the investigating team maintained radio and

             telephone contact and shared their observations throughout the day. (Tr. 19-20, 31).

                   The Mustang was ultimately located in the driveway of 1446 Chapel Hill Lane,

             a location agents believed to be frequented by Defendant and his codefendants based on

             previously collected GPS data. (Tr. 17). The agents began surveillance of the residence

             and later observed two men leave the residence and enter the Mustang. (Tr. 17).

             Subsequently, a Cobb County Police Department marked unit along with members of

             the DEA group investigating the MDTO stopped the Mustang while it was proceeding

             down Connecticut Road. (Tr. 17). The Defendant’s brother was driving the Mustang

             at the time it was stopped, but no contraband was found. (Tr. 17).

                   B.    Law Enforcement Stop and Search a Blue Minivan Driven by
                         Defendant

                   During the same time period, the officers observed a blue minivan previously

             identified as being associated with Defendant leaving the Chapel Hill residence. (Tr.

             18-19). Shawn Jacobi, an Investigator with the Forsyth County Sheriff’s Department


                                                       4


AO 72A
(Rev.8/82)
               Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 5 of 50




             who was assigned to the DEA task force (“DTFO Jacobi”), pulled behind the minivan.

             (Tr. 19, 22, 25). At approximately 3:30 p.m., DTFO Jacobi, who was driving an

             unmarked Ford F-150 pickup truck, put on his blue lights and stopped the minivan after

             it pulled into a convenience store shopping center parking lot. (Tr. 19, 22, 25-26, 30).

             DTFO Jacobi, clad in a ballistic vest with “Police” on the front, drew his weapon and

             moved around to the front of the minivan where both occupants had rolled their

             windows down. (Tr. 24, 26). Because it was apparent that both men did not speak

             English and DTFO Jacobi did not speak Spanish, DTFO Jacobi said, “dos manos,”

             meaning two hands, so that he could see the individuals’ hands. (Tr. 26). DTFO Jacobi

             kept his weapon drawn for three minutes until other officers arrived on the scene. (Tr.

             27, 87). Once there were enough officers to cover DTFO Jacobi, he holstered his

             weapon, opened the door to the minivan, and asked Defendant, who was the driver, and

             a passenger, to step out of the vehicle. (Tr. 27, 32). DTFO Jacobi then waited for

             approximately ten minutes for DEA Task Force Officer David Aguilar (“DTFO

             Aguilar”), who fluently speaks Spanish, to arrive. (Tr. 27-28, 38, 72).

                   When DTFO Aguilar arrived on the scene, Defendant was seated on a curb

             without any agents standing over him. (Tr. 74). DEA Supervisory Special Agent Keith

             Cromer (“SA Cromer”) arrived on the scene wearing a suit and driving an unmarked

             Camaro, to speak with Defendant about the suitcase that had been placed in the Mustang

             earlier. (Tr. 33, 36, 46). SA Cromer joined DTFO Aguilar, who acted as an interpreter

             for Defendant and SA Cromer. (Tr. 38, 58, 72-74). SA Cromer engaged in a ten minute

                                                        5


AO 72A
(Rev.8/82)
               Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 6 of 50




             conversation with Defendant. (Tr. 57). Through DTFO Aguilar, SA Cromer asked

             Defendant if he had any large sums of drugs, money, or illegal contraband, and

             Defendant replied that he did not. (Tr. 39). SA Cromer then asked Defendant through

             DTFO Agular if he minded if the law enforcement officers searched the minivan and

             advised him that he could refuse consent. (Tr. 84-85). Defendant told him to go ahead.

             (Tr. 39, 75, 84-85). After a minute or two of searching, agents determined that there was

             no contraband in the minivan. (Tr. 39).

                   SA Cromer then asked Defendant if he had any large sums of money, drugs, or

             illegal contraband at his residence, and Defendant said he did not. (Tr. 40). SA Cromer

             asked Defendant did he mind if the law enforcement officers went back to his residence

             to search it, and Defendant stated that he did not. (Tr. 40). DTFO Aguilar advised

             Defendant that he could refuse to give his consent. (Tr. 76, 84-85). Defendant told SA

             Cromer that he could search the residence. (Tr. 40, 76). When Defendant gave his

             consent, the conversation between Defendant and SA Cromer had a courteous, casual

             tone, law enforcement officers did not draw weapons on him, no intimidation was

             occurring, Defendant was standing and was not wearing handcuffs, and the only officers

             present next to Defendant were SA Cromer and DTFO Aguilar. (Tr. 40, 41, 75-76, 99).

             At the time, the law enforcement officers present had two marked vehicles and three

             unmarked vehicles. (Tr. 61). Defendant was not threatened or promised anything in

             exchange for his consent. (Tr. 42, 98-99). Defendant was coherent, did not appear to

             suffer from any disabilities, appeared to understand what was being said to him, and

                                                        6


AO 72A
(Rev.8/82)
               Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 7 of 50




             responded in a manner consistent with what was being said to him. (Tr. 43).

                   SA Cromer asked Defendant if Defendant wanted to ride with him back to the

             house. (Tr. 41, 104). SA Cromer testified that Defendant said, “Yes, yes, I will go back

             to the house with you,” but asked whether the law enforcement officers would bring him

             back to his minivan when they completed their search because there was no contraband

             in his house. (Tr. 41, 104). SA Cromer told Defendant that he would bring Defendant

             back to the minivan. (Tr. 41). The passenger of the minivan, who did not live at the

             residence, elected to stay at the shopping center. (Tr. 41). Defendant then walked over

             to and entered the front passenger side of SA Cromer’s Camaro and put on his seatbelt.

             (Tr. 42, 77, 99).

                   Defendant’s version of events differs. Defendant testified that when DTFO Jacobi

             was no longer pointing his gun at him, Defendant still did not believe he was free to

             leave because he thought that he was already under arrest, and DTFO Aguilar had shut

             Defendant’s car off and kept Defendant’s keys to the minivan. (Tr. 88, 90-91, 95, 100,

             103). Defendant further testified that no one asked him for permission to search his car.

             (Tr. 88, 98). Defendant admits that the law enforcement officers asked for permission

             to search his house and that he lent his consent; however, Defendant asserts that he was

             not told that he could refuse consent, and did not think he could refuse his consent. (Tr.

             88-89, 98). Defendant also asserts that when he asked whether he could take his van

             back to the house he was told no. (Tr. 89-90).



                                                         7


AO 72A
(Rev.8/82)
               Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 8 of 50




                   C.     Search of the Chapel Hill Residence

                   After a less than ten minute drive, SA Cromer parked his Camaro near 1446

             Chapel Hill Lane. (Tr. 43-45, 64, 99). SA Cromer and Defendant exited the vehicle and

             were met by DTFO Aguilar and one other agent. (Id.). SA Cromer followed another

             agent to Defendant’s residence and other agents arrived at the residence in at least two

             more vehicles. (Tr. 63). The agents and Defendant were met at the door by Defendant’s

             wife. (Tr. 45, 64). SA Cromer through DTFO Aguilar explained to Mrs. Maldonado

             that the agents were with the DEA and that they were following up on a drug

             investigation. (Tr. 45). The officers asked Mrs. Maldonado to identify herself and

             confirmed that she lived at the residence. (Tr. 45). Because Mrs. Maldonado lived at

             the residence, SA Cromer, speaking through DTFO Aguilar, asked in Spanish for and

             obtained Mrs. Maldonado’s consent to search the residence. (Tr. 45-46, 78). The

             agents’ weapons were not drawn at the time, they took no action to intimidate the

             Maldonados, they had no physical contact with Defendant, and the tone of their

             interaction was conversational. (Tr. 46, 78-79). SA Cromer told Defendant that no one

             was under arrest and that there was no warrant for his arrest, but never explicitly told

             Defendant that he was free to leave. (Tr. 66). The Maldonados did not give any

             indication that they did not want agents to search the residence. (Tr. 46).

                   While agents were searching the residence, SA Cromer asked Defendant if there

             was an area where they could talk. (Tr. 47). Defendant led SA Cromer, DTFO Aguilar,

             Agent Tony Smith, and DTFO Cloninger to the back patio of the residence. (Tr. 47, 68,

                                                        8


AO 72A
(Rev.8/82)
               Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 9 of 50




             79, 84). In order to establish a rapport with Defendant, SA Cromer explained that

             Defendant’s name had come up during the course of an investigation and made small

             talk with him. (Tr. 47-48). During the course of the discussion, other agents pulled SA

             Cromer aside and showed him a couple of large, military-style rifles and handguns they

             found in the garage and other weapons they found in the attic above the master bedroom.

             (Tr. 49, 69). SA Cromer then returned to Defendant and DTFO Aguilar and explained

             to DTFO Aguilar that the agents found several weapons and directed DTFO Aguilar to

             read Defendant his Miranda warnings. (Tr. 50).

                   DTFO Aguilar read Defendant his Miranda warnings in Spanish. (Tr. 51). DTFO

             Aguilar also placed a card with the Miranda warnings translated in Spanish next to

             Defendant so that Defendant could read it while DTFO Auilar read Defendant his rights.

             (Tr. 81). DTFO Aguilar instructed Defendant to let him know whether he understood

             his rights as they were read. (Tr. 81). After every right was read, DTFO Aguilar asked

             Defendant if he understood, and the Defendant replied “yes.” (Tr. 81). DTFO Aguilar

             read in Spanish:

                   Before we ask you any questions, you must understand you have the right
                   to remain silent. Anything you say can be used against you in court. You
                   have the right to talk to a lawyer for advice before we ask you any questions
                   and to have a lawyer with you during questioning. If you cannot afford a
                   lawyer, one will be appointed for you before any questioning if you wish.
                   Do you understand? Are you willing to answer some questions?

             (Tr. 81-82). Defendant said “yes” in response. (Tr. 82). Defendant appeared to

             understand DTFO Aguilar, and admits that he did understand DTFO Aguilar. (Tr. 51,

             82, 101). Defendant also admits that he understood the warnings to mean that he had
                                                        9


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 10 of 50




             the right to remain silent, that anything he said could be used against him, and that he

             could ask for an attorney. (Tr. 94, 101-02).

                   Before asking Defendant any questions, SA Cromer advised Defendant that if

             there were any questions that he did not understand or felt uncomfortable answering, he

             did not have to answer those questions and he could let them know if he did not

             understand. (Tr. 51). Defendant “acknowledged that he understood and he didn’t have

             a problem.” (Tr. 52). In response to SA Cromer’s questioning, Defendant denied

             having any knowledge of the weapons, handguns, and drug trafficking activity. (Tr. 52).

             Defendant did mention that he rented a room with his family at the 1446 Chapel Hill

             address and talked about his status in the United States. (Tr. 83). SA Cromer told

             Defendant about the weapons agents located within the house, and advised Defendant

             that if he was in the United States illegally, he could not possess weapons and could be

             facing some kind of criminal penalty. (Tr. 53). SA Cromer also told Defendant that if

             he agreed to cooperate, anything that he discussed would be made known to the

             prosecutor handling the case. (Tr. 53). SA Cromer also told Defendant that he had a

             wife and kids and indicated that he was showing more loyalty to the people distributing

             drugs than to his own family. (Tr. 53). According to SA Cromer, Defendant responded

             that Mrs. Maldonado knew what she was getting into when she married him, that he was

             not going to worry about them, and that they were not going to worry about him. (Tr.

             54). At some point, Defendant commented, “Hey, man, if there is any drug information

             or drug activity that I am affiliated with, just let me do my jail time” and asked for his

                                                        10


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 11 of 50




             attorney. (Tr. 83). SA Cromer ended the conversation. (Tr. 54). This conversation

             took place while SA Cromer and Defendant were seated on furniture in the patio in

             Agents Aguilar and Cloninger’s presence. (Tr. 54). No one threatened Defendant,

             intimidated him, used abusive tones with him, attempted to trick him into talking, drew

             weapons on him, or made him promises as to what a court or prosecutor might do if he

             made statements. (Tr. 55, 71, 82-83, 98-99, 101). Defendant never asked to leave the

             residence. (Tr. 55).

                    Again, Defendant’s version of the story is different, but the Court does not find

             it credible. Defendant asserts that his sister-in-law, not his wife, greeted agents at the

             door of the Chapel Hill residence and that the officers did not ask his wife’s permission

             to search the residence. (Tr. 90-91, 100, 103). Instead, the law enforcement officers

             rushed into the residence and took him to the back porch. (Id.). According to

             Defendant, upon reaching the back porch, the officers asked him questions about people

             and whether he knew them, and that the officers did not read him his Miranda warnings

             until after he already talked to them. (Tr. 91-92). Defendant alleges none of the officers

             told him that he did not have to answer their questions or that he was free to leave. (Tr.

             92). Defendant also testified that he has a sixth grade education from Mexico and that

             he was not taught about American laws. (Tr. 93-94).

             II.   DISCUSSION

                   Defendant argues in his Motions to Suppress that evidence obtained from the

             search of his residence should be suppressed because (1) the Terry stop of his minivan

                                                        11


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 12 of 50




             was not justified by reasonable suspicion and amounted to an unlawful arrest and

             detention; (2) Defendant’s consent to the officers’ warrantless search of his minivan and

             residence was a mere uninformed, involuntary acquiescence to the officers’ show of

             authority during a time when he did not feel free to leave; and (3) Defendant’s consent

             to the officers’ warrantless search of his residence was tainted by the illegal Terry stop

             and the involuntary consent to the search of the minivan.

                   A.     The Stop of the Minivan was Justified by Reasonable Suspicion

                   Defendant contend that the stop of his minivan was not justified by reasonable

             suspicion and amounted to an unlawful arrest and detention. In support, Defendant

             argues the search for the suitcase was not justified by reasonable suspicion because there

             was no direct evidence linking the suitcase to Defendant, illegal activity, or contraband.

             Defendant also argues he was subjected to an unreasonable detention because the

             minivan had not committed any traffic offense, yet its path was blocked, DTFO Jacobi

             held Defendant at gunpoint until at least three other officers arrived, four officers were

             present while Defendant was detained for a lengthy period, and the officers took

             Defendant’s keys away from him. The Government argues in response that the traffic

             stop of the minivan was justified by reasonable suspicion because the law enforcement

             officers not only believed Defendant to be speaking directly with sources of narcotics

             supply in Mexico but also agents observed the exchange and placement of a suitcase,

             which is often utilized by drug organizations to transport drugs and drug money, within

             a Mustang, whose passenger and driver looked around and made quick turns consistent

                                                        12


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 13 of 50




             with counter-surveillance measures and ended up in the driveway of Defendant’s

             residence. Although the suitcase was not found within the Mustang, agents observed

             the blue minivan depart from the same residence.

                   The police may stop a car and briefly detain it and its occupants in order to

             investigate a reasonable suspicion that such persons are involved in criminal activity if

             the stop is reasonably related in scope to the circumstances which justified the stop.

             Terry v. Ohio, 392 U.S. 1 (1968); United States v. Spoerke, 568 F.3d 1236, 1248 (11th

             Cir. 2009); United States v. Acosta, 363 F.3d 1141, 1144-45 (11th Cir. 2004); United

             States v. Tapia, 912 F.2d 1367, 1370 (11th Cir. 1990). The police officer must “be able

             to point to specific and articulable facts which, taken together with rational inferences

             from those facts, reasonably warrant that intrusion” under the totality of the

             circumstances. United States v. Bautista-Silva, 567 F.3d 1266, 1272 (11th Cir. 2009);

             Tapia, 912 F.2d at 1370 (citing United States v. Sokolow, 490 U.S. 1 (1989)). Officers

             are expected to use their experience and specialized training to draw inferences from the

             cumulative information available to them, including inferences that may evade untrained

             observers. United States v. Bautista-Villanueva, 524 F. App’x 476, 478 (11th Cir.

             2013). The court “may not consider each fact only in isolation and reasonable suspicion

             may exist even if each fact ‘alone is susceptible of innocent explanation’” and even if

             the suspicion ultimately turns out to be incorrect. Bautista-Silva, 567 F.3d at 1272;

             Bautista-Villanueva, 524 F. App’x at 478. “Such facts may be derived from ‘various

             objective observations, information from police reports, if such are available, and

                                                        13


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 14 of 50




             consideration of the modes or patterns of operation of certain kinds of lawbreakers.’”

             United States v. Williams, 876 F.2d 1521, 1524 (11th Cir. 1989).

                   Under the totality of the circumstances of this case, the agents possessed

             reasonable suspicion to stop the minivan because it appeared as if drug-related activity

             may have been occurring. Based on the behavior of the men loading the suitcase into

             the Mustang, it was reasonable for law enforcement officers to believe that the suitcase

             carried drugs, money, or other contraband. Based on DTFO Cloninger’s training and

             experience, he believed that suitcases are a common concealment method for drugs and

             money because suitcases may be moved freely in public without drawing suspicion. (Tr.

             15). Prior to the stop, DTFO Cloninger observed two men load a single, heavy suitcase

             into a grey Ford Mustang parked near what law enforcement officers believed to be a

             stash house for storing drugs or money. (Tr. 11-15). A reasonable inference was that

             the suitcase did not contain clothes for travel because it appeared to be very heavy and

             the two men had no other luggage. (Tr. 15). The Mustang was associated with

             Defendant, who agents believed, based on information gathered during intercepted

             phone calls, to be a multi-kilogram distributor of methamphetamine and cocaine, a

             source of supply, with multiple people working at his direction, and who communicated

             directly with leaders in Mexico. (Tr. 13, 15). Additionally, the occupants of the

             Mustang’s behavior was consistent with counter-surveillance. Not only did the two men

             look around while they were loading the suitcase into the Mustang, but they also waited

             several minutes after DTFO Cloninger drove by to leave the parking lot and once in

                                                       14


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 15 of 50




             route, the men in the Mustang were looking around and made a couple of quick turns.

             (Tr. 16, 21). According to DTFO Cloninger, this is typical counter surveillance behavior

             because looking around and making turns quickly and unexpectedly helps officers detect

             whether others are following. (Tr. 16). The Mustang was subsequently observed parked

             in the driveway of 1446 Chapel Hill Lane, which, based on previously collected GPS

             data, agents believed was frequented by Defendant. (Tr. 16-17). When law enforcement

             officers subsequently stopped the Mustang, however, they did not find any contraband

             within the Mustang. (Tr. 17).

                   Given that the suitcase was not found in the Mustang, it was therefore, reasonable

             for the law enforcement agents to suspect that the blue minivan leaving the Chapel Hill

             residence could have the suitcase with contraband inside.1 (Tr. 17, 25, 37). The minivan

             was associated with and was being driven by Defendant, who agents believed, based on

             information gathered during intercepted phone calls, to be a multi-kilogram distributor

             of methamphetamine and cocaine. (Tr. 15, 19, 25, 37). The minivan was seen leaving

             the Chapel Hill residence, which agents believed to be associated with Defendant and

             was the location where the Mustang originally carrying the suitcase had just been. (Tr.

             17, 25, 37).

                   The facts of this case are similar to United States v. Gopie, 347 F. App’x 495

             (11th Cir. 2009), where the Eleventh Circuit concluded that the agent had reasonable

             suspicion to search a vehicle when the DEA received an anonymous tip that a suspect
                    1
                     All of the law enforcement officers and agents were sharing information
             throughout the day. (Tr. 19-20).
                                                       15


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 16 of 50




             was involved in an interstate drug trafficking operation, the DEA confirmed the

             suspect’s identity and verified that he had a prior conviction for drug trafficking, agents

             observed the suspect carrying heavy-appearing crates from a U-Haul truck to a

             residence, and then trash bags which appeared to be heavy from the residence into an

             Infiniti. Id. at 498. Next, the agents observed the U-Haul and the Infiniti leave the

             residence together, pull up next to each other to converse, and split apart. Gopie, 347

             F. App’x at 498. Then the agents observed the Infiniti engage in counter-surveillance

             measures. Id. at 498. In this case, just as in Gopie, law enforcement officers believed

             based on intercepted calls that Defendant was a drug dealer, knew that Defendant was

             affiliated with both the Mustang and the minivan, observed the transfer of the suitcase

             into the Mustang, which reasonably appeared to be drug-related activity, observed the

             Mustang appear to engage in counter-surveillance efforts, did not find the suitcase when

             searching the Mustang, observed the minivan departing from the location from which

             the Mustang had departed prior to the search, and observed Defendant driving the

             minivan. Under the totality of the circumstances, it was reasonable for the law

             enforcement officers to suspect that the minivan was carrying contraband. Gopie, 347

             F. App’x at 498-500; see also United States v. Bryant, 334 F. App’x 259, 263 (11th Cir.

             2009) (concluding that police officer’s stop of car was justified by reasonable suspicion

             where police officer observed two vehicles abruptly depart after police officer

             approached and vehicles had been stopped in middle of road next to each other and

             pointing in opposite directions in area known for drug transactions); United States v.

                                                         16


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 17 of 50




             Nunez, 455 F.3d 1223, 1226 (11th Cir. 2006) (holding that detective possessed

             reasonable suspicion that contraband was removed from a residence to support stop of

             Mercedes and truck leaving residence because residence was believed to be a grow

             house, law enforcement observed one individual carry a black garbage bag out of the

             residence and place the garbage bag into the truck and a second defendant carry a

             cardboard box from the residence, place it into the Mercedes, and step into the

             Mercedes); United States v. Powell, 222 F.3d 913, 917, 918 (11th Cir. 2000)

             (concluding that officers had reasonable suspicion that something related to drug

             trafficking occurred where defendant and her friend drove to house of known drug

             trafficker, defendant went into the garage with a backpack, defendant left with the

             backpack and returned to the passenger seat of car, the friend drove her through

             neighborhood, defendant returned to the house with the backpack, defendant left the

             backpack at the house after entering the garage, and defendant drove away in the car).

                   B.     Duration of the Stop

                   Contrary to Defendant’s argument, his detention after the stop did not amount to

             an arrest requiring probable cause.      Defendant argues he was subjected to an

             unreasonable detention that amounted to an illegal arrest because the minivan had not

             committed any traffic offense, yet its path was blocked, DTFO Jacobi held Defendant

             at gunpoint until at least three other officers arrived, four officers were present when

             Defendant was detained for a lengthy period, and the officers took Defendant’s keys

             away from him. In addition, Defendant argues that once the officers searched the

                                                       17


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 18 of 50




             minivan and the search yielded no contraband, Defendant should have been free to

             leave, but SA Cromer questioned Defendant about a new topic and obtained his consent

             to search the Chapel Hill residence.

                    There is a difference between an investigative stop of limited duration for which

             reasonable suspicion is enough, and a detention that amounts to an arrest for which

             probable cause is required. United States v. Acosta, 363 F.3d 1141, 1145-46 (11th Cir.

             2004). In determining whether a detention rises to the level of an arrest, the court

             weighs a limited violation of individual privacy against the opposing interests in crime

             prevention, detection, and police officer safety. Acosta, 363 F.3d at 1145-46. Four

             factors are considered: (1) the law enforcement purposes served by the detention; (2) the

             diligence with which the police pursued the investigation; (3) the scope and

             intrusiveness of the detention; and (4) the duration of the detention.

                   When evaluating whether law enforcement purposes were served by the detention,

             the court considers whether police detained the defendant to pursue a method of

             investigation that was likely to confirm or dispel suspicions quickly and with a minimum

             of interference. Acosta, 363 F.3d at 1146. Under the second factor, the court considers

             whether the police were diligent in pursuing their investigation, that is, whether the

             methods the police used were carried out without unnecessary delay. Acosta, 363 F.3d

             at 1146. Under the third factor, the court evaluates whether the scope and intrusiveness

             of the detention exceeded the amount reasonably needed by police to ensure their

             personal safety. Acosta, 363 F.3d at 1146. The Supreme Court has stated that officers

                                                        18


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 19 of 50




             may take reasonable steps to ensure their safety so long as they possess “an articulable

             and objectively reasonable belief that the suspect is potentially dangerous.” Acosta, 363

             F.3d at 1146. Thus, an investigatory stop does not necessarily ripen into an arrest

             merely because the officer draws his weapon, handcuffs a suspect, orders a suspect to

             lie face down on the ground, or secures the suspect into the back of a patrol car. Acosta,

             363 F.3d at 1147. Under the fourth factor, there is no rigid time limitation or bright line

             rule regarding the duration of a Terry stop. Acosta, 363 F.3d at 1147. The question is

             one of common sense and early human experience. Acosta, 363 F.3d at 1147.

                   In this case, the stop did not ripen to an arrest. First, the law enforcement officers

             engaged in investigatory methods that would quickly confirm or dispel suspicions with

             minimal interference and were dedicated to the purpose for the stop. Defendant was

             stopped that day because law enforcement officers were trying to locate the suitcase that

             was previously placed in the Mustang which they believed contained money or drugs.

             (Tr. 37-38). After DTFO Aguilar and SA Cromer arrived, they asked Defendant

             questions fully within the scope of the investigation and asked for his permission to

             search the vehicle. (Tr. 25, 39). Upon learning that no contraband was in the minivan,

             SA Cromer asked a few other questions relating to the purpose of the stop, such as

             whether Defendant had illegal contraband or large sums of money at his residence. (Tr.

             40). The search of the minivan only took a couple of minutes and only ten minutes

             passed between the time that SA Cromer arrived on the scene and the time that SA

             Cromer left with Defendant to search the Chapel Hill residence. (Tr. 39, 62). Clearly,

                                                         19


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 20 of 50




             the brief questioning and the even briefer search both fully pertained to the purpose of

             the stop and were designed to confirm or dispel the law enforcement officers’ suspicions

             quickly.

                   Additionally, despite some show of authority, the stop was conducted with

             minimal interference and intrusion. Although DTFO Jacobi drew his weapon on

             Defendant and his passenger and insisted that they put their hands in the air, as soon as

             other backup units arrived, he holstered his weapon and asked Defendant and the

             passenger to step out of the minivan and waited ten minutes for DTFO Aguilar and SA

             Cromer to arrive. (Tr. 26-27). The few minutes that DTFO Jacobi waited for the other

             backup officers to arrive on the scene while keeping Defendant and the passenger at gun

             point was reasonable. DTFO Jacobi was the only law enforcement officer at the scene,

             the officers knew that in the past the individuals in the organization carried weapons,

             and the officers suspected that a suitcase containing contraband may be aboard the

             minivan. (Tr. 23, 27, 37-38); Acosta, 363 F.3d at 1147 (concluding that it was

             reasonable for the officers to protect themselves during the course of the stop without

             the stop transforming into arrest because the officers reasonably suspected that the

             defendant was carrying a large amount of money in his car and that he might have a

             weapon to protect himself and the money). Instead of prolonging the offensiveness of

             the intrusion, as soon as the backup officers arrived on the scene, DTFO holstered his

             weapon. (Tr. 27). Although Defendant avers that the officers also took his keys from

             him, this Court does not find Defendant’s testimony credible. Instead, this Court finds

                                                        20


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 21 of 50




             Defendant’s testimony contradictory. Defendant first testified that the keys stayed in his

             van, not that DTFO Jacobi took his keys and kept them. (Tr. 90, 103). Nevertheless,

             even if DTFO held Defendant’s keys during the course of the stop, this Court cannot

             conclude that doing so amounted to an arrest. The very nature of a Terry stop includes

             stopping the suspect and preventing him or her from leaving; thus, an investigatory stop

             is not an arrest just because the suspect is prevented from leaving. Acosta, 363 F.3d at

             1145-47.

                   Furthermore, the officers diligently pursued the investigation. Each investigatory

             act of the law enforcement officers logically led to the next act which was done without

             delay. United States v. Williams, 238 F. App’x 566, 568 (11th Cir. 2007) (explaining

             that under the second factor, the Eleventh Circuit has found that the police acted

             diligently where each investigatory act by the police logically led to the next act which

             was done without delay). Because law enforcement was looking for a suitcase with

             contraband in it, it was logical for them to ask about the presence of contraband within

             the minivan and to request to search the minivan. When no contraband was found in the

             minivan, a logical progression of the investigation was to ask whether there was

             contraband in the Chapel Hill residence, where both the minivan and the Mustang had

             been, and to ask Defendant for his consent to search it. Although DTFO Jacobi briefly

             delayed the investigation while he waited for DTFO Aguilar to arrive, the delay was

             reasonable and served the purpose of the investigation. Because Defendant and his

             passenger both spoke Spanish, no officer on the scene fluently spoke Spanish, it was

                                                        21


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 22 of 50




             apparent to DTFO Jacobi that neither the Defendant nor the passenger spoke English,

             and the investigation logically could not proceed until Defendant and his passenger

             could understand the investigating officers’ attempts to communicate with them. (Tr.

             26-28). Even with the brief delay resulting from the back up officers and DTFO

             Aguilar’s arrival, the Defendant was detained less than ten minutes prior to DTFO

             Aguilar arriving on the scene. (Tr. 29). The total duration of the stop was not excessive

             as it appeared to be approximately twenty minutes. (Tr. 29, 39, 62); see United States

             v. Lester, 477 F. App’x 697, 701 (11th Cir. 2012) (holding that thirty to forty minute

             duration of the detention was not unreasonable); Acosta, 363 F.3d at 1148 (concluding

             that a thirty minute stop was not unreasonable for a Terry stop). Under these

             circumstances, this Court concludes that the traffic stop did not blossom into an arrest.

             See, e.g., United States v. Gil, 204 F.3d 1347, 1351 (11th Cir. 2000) (concluding that

             detention during Terry stop was not an arrest even where stop lasted seventy-five

             minutes, police searched the defendant’s car, the defendant was handcuffed, placed in

             the back of a police car, and taken to her residence).

                   C.     Consent to Search the Minivan and Chapel Hill Residence

                   Defendant contends that his consent to search the minivan and residence was not

             voluntary and instead Defendant yielded to a show of authority by the law enforcement

             officers because he did not think he had the option to refuse. In support, Defendant

             argues his consent was procured at a time when he reasonably believed he was not free

             to leave, DTFO Jacobi had held him at gun point for three minutes, the law enforcement

                                                        22


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 23 of 50




             officers at the scene had “direct control over his actions and movements,” his car keys

             were taken away from him, and he was an uneducated, undocumented alien surrounded

             by multiple armed agents. Defendant also contends that his consent to search his home

             was given after his coercive detention, without his understanding that he could refuse

             to give consent, and he was required to accompany SA Cromer to the residence.

             Defendant further argues his consent was also tainted by the illegal stop of the minivan

             and his unlawful arrest.

                   This Court concludes that Defendant voluntarily gave his consent for the search

             of the minivan and the residence. The Fourth Amendment protects “[t]he right of the

             people to be secure in their persons, houses, papers, and effects, against unreasonable

             searches and seizures.” U.S. Const. amend. IV. “It is well settled under the Fourth and

             Fourteenth Amendments that a search conducted without a warrant issued upon probable

             cause is ‘per se unreasonable . . . subject only to a few specifically established and

             well-delineated exceptions.’” Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973).

             An exception to the requirement that law enforcement obtain a warrant to search a

             person’s residence is when consent is given by an individual possessing authority to do

             so. Ga. v. Randolph, 547 U.S. 103, 106 (2006), citing Schneckloth, 412 U.S. at 222.

             “In order for consent to a search to be deemed voluntary, it must be the product of an

             essentially free and unconstrained choice” and “not the result of duress or coercion,

             express or implied” or the acquiescence to a claim of lawful authority. Am. Fed’n of

             State, Cnty. and Mun. Emp. Council 79 v. Scott, 717 F.3d 851, 874 (11th Cir. 2013);

                                                       23


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 24 of 50




             Acosta,363 F.3d at 1151; United States v. Tovar-Rico, 61 F.3d 1529, 1535 (11th Cir.

             1995). The principles for determining the voluntariness of consent for a search are the

             same as those for determining the voluntariness of a confession--i.e. whether consent is

             voluntary turns on questions of fact, determinable from the totality of the circumstances.

             See Johnston v. Tampa Sports Auth., 530 F.3d 1320, 1326 (11th Cir. 2008), cert. den’d,

             555 U.S. 1138 (2009); Tovar-Rico, 61 F.3d at 1535. Relevant factors include the

             presence of coercive police procedures, the extent of the person’s cooperation with the

             officer, the person’s awareness of his or her right to refuse consent, the person’s

             education and intelligence, and the person’s belief that no incriminating evidence will

             be found. Schneckloth, 412 U.S. at 226; Johnston, 530 F.3d at 1326; United States v.

             Zapata, 180 F.3d 1237, 1241 (11th Cir. 1999). Ultimately, the burden is on the

             Government to prove the existence of consent and that the consent was not a function

             of acquiescence to a claim of lawful authority but rather was given freely and

             voluntarily. United States v. Schmitz, 469 F. App’x 772, 773 (11th Cir. 2012); United

             States v. Hidalgo, 7 F.3d 1566, 1567, 1571 (11th Cir. 1993).

                   In this case, Defendant’s consent was voluntarily given. Contrary to Defendant’s

             argument, the consent to search was not tainted by the prior traffic stop or an unlawful

             arrest because, as discussed above, the stop of the minivan was legal and the stop did not

             blossom to an arrest. Second, this Court does not agree that Defendant’s consent was

             the mere acquiescence to the show of authority by law enforcement officers at the scene.

             Although DTFO Jacobi initially pointed his weapon at Defendant for a three-minute

                                                        24


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 25 of 50




             period, DTFO Jacobi ultimately holstered his weapon, no one else pointed weapons at

             Defendant, and Defendant was not handcuffed at any point during the stop or at the

             Chapel Hill residence. (Tr. 40-41, 74, 98). After the initial show of authority,

             Defendant’s subsequent movements were not controlled. When DTFO Aguilar arrived,

             Defendant was seated on a curb without any agents standing over him, and no physical

             contact with Defendant occurred. (Tr. 40-41, 45, 71, 74-79, 99). Although eight

             officers were present on the scene, at the time Defendant lent his consent, only DTFO

             Aguilar and SA Cromer were with Defendant and no other agents were hovering near

             Defendant. (Tr. 36, 40, 61). While Defendant testified that SA Cromer took away his

             keys, would not let him take his own car to his residence, and insisted that Defendant

             ride with him over to the residence, this Court does not credit Defendant’s testimony in

             this regard. Instead, this Court finds SA Cromer’s testimony about the matter to be

             credible. SA Cromer testified that he offered Defendant the choice of riding with him

             to the Chapel Hill residence, SA Cromer did not take away Defendant’s keys, Defendant

             voluntarily indicated that he wanted to ride with SA Cromer, Defendant entered SA

             Cromer’s Camaro of his own accord, and Defendant put the passenger side seatbelt on

             himself. (Tr. 41-42, 77, 104-05). Additionally, this Court credits Defendant’s original

             testimony that the keys to the minivan remained in the minivan. (Tr. 90, 102). Even if

             Defendant was not free to leave at the time he gave his consent, that factor is not

             dispositive–the standard for determining voluntariness is the same whether Defendant

             was in custody, under arrest, or merely stopped at the time of consent. United States v.

                                                       25


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 26 of 50




             Perry, 522 F. App’x 821, 826 (11th Cir. 2013); United States v. Espinosa-Orlando, 704

             F.2d 507, 512 (11th Cir. 1983). The issue is whether Defendant believed that he was

             free to refuse consent. Perry, 522 F. App’x at 826; Espinosa-Orlando, 704 F.2d at 512.

                   Based on this record, it is apparent that Defendant was aware that he could refuse

             to give his consent for the searches of both the minivan and his residence. Although

             Defendant contends that no one told him that he can refuse consent, this Court finds

             DTFO Aguilar’s testimony credible wherein he testified that consistent with his practice,

             he told Defendant that he could refuse to consent to the search of his minivan and his

             residence at any time. (Tr. 84-85). Despite Defendant’s contention that he was unaware

             of his rights because he only had a sixth grade education from Mexico and was not

             educated about the criminal system in the United States, the record supports the notion

             that Defendant understood his rights. Not only did Defendant appear to understand

             DTFO Aguilar when he told him that he had the right to refuse his consent, but

             consistent with the notion that Defendant was able to understand what his situation was

             and what the law enforcement officers were telling him, Defendant has also testified that

             he understood everything that was going on in the proceedings before this Court during

             the suppression hearing. (Tr. 101). Moreover, Defendant was no stranger to the

             criminal justice system given that he was incarcerated for sixth months for crossing the

             border and coming into the United States with his brother’s identification. (Tr. 96-97).

             Furthermore, Defendant unequivocally gave his consent. Defendant did not hesitate

             before giving his consent to search the Chapel Hill residence, did not give any indication

                                                        26


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 27 of 50




             that he did not want to consent, and consented again once agents arrived at his residence.

             (Tr. 76, 78).

                   Finally, Defendant was not subjected to any coercive law enforcement procedures.

             SA Cromer and DTFO Aguilar did not threaten Defendant, make him any promises, or

             use abusive tones with him. (Tr. 41-43, 75). DTFO Aguilar and SA Cromer spoke with

             Defendant in a conversational and polite tone. (Tr. 40-41, 74, 99). Under these

             circumstances, this Court concludes that Defendant’s consent to search both the minivan

             and the Chapel Hill residence was voluntary. United States v. Peguero, 518 F. App’x

             792, 795 (11th Cir. 2013) (holding that even though officer did not explicitly tell

             defendant he could refuse consent to a search, consent was still voluntary given that

             defendant freely conversed with the officer, laughed and made small talk, was

             cooperative and polite and the officer did not display a gun, did not handcuff or

             physically restrain him, did not threaten him, and did not imply that there were

             consequences for refusing the search); United States v. Butler, 102 F.3d 1191, 1197

             (11th Cir. 1997) (finding that consent was voluntary even though arresting officers had

             stationed other officers around the perimeter of the house in order to prevent its

             occupants from leaving because [resident] opened her door voluntarily, was informed

             that she could refuse the search, signed a consent form, and was cooperative); Hidalgo,

             7 F.3d at 1570-71 (holding that consent given following defendant’s arrest at gunpoint

             and invocation of the right to remain silent was voluntary); United States v. Garcia, 890

             F.2d 355, 362 (11th Cir. 1989) (concluding that the presence of fourteen officers in

                                                        27


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 28 of 50




             defendant’s home following defendant’s arrest did not show that his consent was

             obtained involuntarily where there was no indication that they were all in the same room

             with defendant when he consented or acted in a coercive manner).

                   D.      Voluntariness of Defendant’s Statements

                   Defendant further contends that statements he made to SA Cromer and DTFO

             Aguilar at his home should be suppressed because they were not voluntarily made.

             Specifically, Defendant argues his statements were involuntary because his statements

             followed the stop of his vehicle, he was denied access to his vehicle, prevented from

             leaving, subjected to a prolonged detention, taken to his home, and was questioned at

             his home where there were multiple officers and a police dog. Defendant maintains that

             these circumstances were especially coercive because he had limited education,

             experience, and cultural knowledge and was given little explanation of the rights he was

             abandoning.

                   The Fifth Amendment of the United States Constitution prohibits the use of an

             involuntary confession against a defendant in a federal criminal trial. U.S. Const.

             amend. V; Dickerson v. United States, 530 U.S. 428, 433 (2000); Bram v. United States,

             168 U.S. 532, 542 (1897). In Miranda v. Arizona, 384 U.S. 436 (1966), the Supreme

             Court recognized the need to further safeguard the privilege against self-incrimination

             by requiring that Miranda warnings, or other fully effective means, be given to subjects

             of custodial interrogations. Miranda, 384 U.S. at 478-79; see also Dickerson, 530 U.S.

             at 442-43 (rejecting Congress’s attempt through 18 U.S.C. § 3501 to reinstate the totality

                                                        28


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 29 of 50




             test as sufficient). The “Miranda safeguards come into play whenever a person in

             custody is subjected to either express questioning or its functional equivalent.” Rhode

             Island v. Innis, 446 U.S. 291, 300-01 (1980). A defendant may waive his Miranda rights

             “provided the waiver is made voluntarily, knowingly and intelligently.” Miranda, 384

             U.S. at 444. The waiver inquiry is two-pronged. “First, the relinquishment of the right

             must have been voluntary in the sense that it was the product of a free and deliberate

             choice rather than intimidation, coercion, or deception. Second, the waiver must have

             been made with a full awareness of both the nature of the right being abandoned and the

             consequences of the decision to abandon it.” Moran v. Burbine, 475 U.S. 412, 421

             (1986). “An express written or oral statement of waiver of the right to remain silent or

             of the right to counsel is usually strong proof of the validity of that waiver, but is not

             inevitably either necessary or sufficient to establish waiver.” N.C. v. Butler, 441 U.S.

             369, 373 (1979); see also United States v. Beckles, 565 F.3d 832, 840 (11th Cir. 2009)

             (same).

                   In this case, Defendant freely waived his Miranda rights and made statements with

             full knowledge of the rights he was waiving. First, when Defendant waived his rights,

             he was aware of the nature of the rights being abandoned and the consequences of the

             decision to abandon it. DTFO Aguilar fully apprized Defendant of his rights before he

             started Defendant’s interrogation. Prior to the interrogation,2 DTFO Aguilar read
                    2
                     Defendant intimates that he was questioned both before and after receiving
             his Miranda warnings. (Def.’s Br., Doc. 207, 13). SA Cromer testified that he asked
             questions of Defendant such as how many children Defendant had before giving
             Defendant his Miranda warnings. (Tr. 47-48). Even if SA Cromer’s actions in doing
                                                        29


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 30 of 50




             Defendant his Miranda rights in Spanish and allowed him to read along from a card with

             them. (Tr. 81). Defendant was notified that he had the right to remain silent, that

             anything he said could be used against him in court, that he had the right to talk to a

             lawyer for advice before questioning and to have a lawyer present during questioning,

             and that a lawyer could be appointed for him if he could not afford one. (Tr. 81-82).

             Defendant was also told that if there was any question that made him feel uncomfortable

             or that he could not understand, he did not have to answer. (Tr. 51). Defendant

             appeared to comprehend what DTFO Aguilar was saying about his rights, Defendant

             admits that he understood the warnings to mean that he had the right to remain silent,

             that anything he said could be used against him, and that he could ask for an attorney.

             (Tr. 94, 101-02). Thus, this Court concludes that Defendant had the capacity to

             understand his rights as explained to him by DTFO Aguilar, and he understood his

             rights. DTFO Aguilar then asked Defendant if he was willing to answer some questions,

             and Defendant indicated that he was. (Tr. 82).

                   Second, Defendant voluntarily waived his Miranda rights without being subjected

             so could be considered interrogation triggering the duty to give Miranda warnings,
             Defendant does not identify any specific questions directed to him or any statements
             made prior to the time that DTFO Aguilar read his Miranda warnings to him that
             should be suppressed. United States v. Jules, 244 F. App’x 964, 973 (11th Cir. 2007)
             (questions as to why defendant was laughing were not interrogation but rather casual
             conversation); United States v. Richardson, 764 F.2d 1514, 1527 (11th Cir. 1985)
             (holding that “[a] motion to suppress must in every critical respect be sufficiently
             definite, specific, detailed, and nonconjectural to enable the court to conclude that a
             substantial claim is presented” and “must allege facts which, if proven, would provide
             a basis for relief”). Furthermore, the Government concedes that it does not intend to
             introduce in its case-in-chief any statements made by Defendant prior to the waiver
             of his Miranda rights.
                                                       30


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 31 of 50




             to intimidation, coercion, or deception and spoke to DTFO Aguilar and SA Cromer. The

             circumstances of the investigation were not coercive. Defendant was not being ordered

             to do anything, there was no physical contact with Defendant, he was not handcuffed or

             restrained in any way, and Defendant chose the area where the agents could talk to him.

             (Tr. 77-79). Furthermore, no one intimidated or threatened Defendant, no one made

             promises as to what a prosecutor might do based on Defendant’s statements or answers,

             and no one played tricks on him. (Tr. 55, 83). Under the totality of the circumstances,

             this Court concludes that Defendant knowingly, intelligently, and voluntarily waived his

             Miranda rights and provided statements to SA Cromer and DTFO Aguilar.

                   MOTIONS TO SUPPRESS INTERCEPTED COMMUNICATIONS

                   Defendant contends that evidence obtained as a result of wiretaps authorized on

             target telephones four and six should be suppressed. In support, Defendant argues

             probable cause did not support the interception of his calls to target telephone four, the

             Government did not demonstrate necessity for the interception of the target telephones,

             and the Government failed to minimize interception of communications not subject to

             interception. As a result Defendant seeks to suppress all evidence obtained as a result

             of the wiretaps as well as the fruits of the evidence. Defendant also requests a Franks

             hearing to determine the full extent of information gathered from the cooperation of

             confidential sources and for the Government to show how they exhausted the

             conventional means of investigation before seeking a wiretap.



                                                        31


AO 72A
(Rev.8/82)
                  Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 32 of 50




             I.       BACKGROUND

                      A.    Judge Jones’ December 30, 2011 Wiretap Order:
                            Target Telephone 4

                      In 2011, the DEA was conducting an investigation into what they believed to be

             a Mexico-based drug trafficking and money laundering organization based out of

             Mexico. (Gov’t’s Attachment. A, Aff. of Mara Hewitt, hereinafter “Hewitt Aff.,” ¶¶ 24).

             In connection with that investigation, on December 30, 2011, U.S. District Court Judge

             Steve Jones issued an Order permitting the DEA to intercept a cellular telephone

             number, referred to as Target Telephone 4 (hereinafter “TT4”), believed to be used by

             an unidentified male known as “Perico” who was suspected of being a distributor of

             illegal drugs in the Atlanta, Georgia area. (Hewitt Aff. ¶ 18). The investigation was

             targeting conversations of five unidentified males, one of whom was known as Juan, as

             well as five other individuals. (Hewitt Aff. ¶ 18). DEA Special Agent Mara Hewitt

             (“SA Hewitt”) indicated in the application for the wiretap on the target telephone that

             she believed interception of calls on TT4 would lead agents to information concerning

             the offenses by the target subjects of the investigation, including importation,

             distribution and possession of, with intent to distribute, controlled substances

             (marijuana, cocaine, and methamphetamine) in violation of 21 U.S.C. §§ 841, 952, 960;

             the unlawful use of communication facilities in committing or facilitating the

             commission of a Title 21 felony offense in violation of 21 U.S.C. § 843(b); the

             conspiracy to import, distribute, and possess with intent to distribute controlled

             substances in violation of 21 U.S.C. §§ 846, 963; money laundering and conspiracy to
                                                        32


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 33 of 50




             commit money laundering in violation of 18 U.S.C. §§ 1956, 1957; and aiding and

             abetting all of the aforementioned offenses in violation of 18 U.S.C. § 2. (Hewitt Aff.

             ¶¶ 19). In support of the Application, SA Hewitt provided her own affidavit in which

             she details several examples of what was believed to be drug trafficking activity by an

             individual known as Perico. (Hewitt Aff. ¶¶ 28-45). In addition, SA Hewitt’s affidavit

             connected Perico to TT4. (Hewitt Aff. ¶¶ 33-45).

                   B.     Judge Thrash’s January 26, 2012 Wiretap Order:
                          Target Telephones 5-7

                   On January 26, 2012, U.S. District Court Judge Thomas Thrash issued an Order

             permitting the DEA to intercept three cellular telephone numbers, referred to as Target

             Telephone 5-7 (hereinafter “TT5, TT6, and TT7”). (Gov’t’s Attachment D). TT6 was

             believed to be used by Juan Macedo Maldonado, who, at the time, was suspected of

             being a source of supply and distributor of illegal drugs operating in North Carolina and

             the Atlanta, Georgia areas. (Gov’t’s Attachment D, Second Aff. of Mara Hewitt,

             hereinafter “Hewitt 2 Aff.,” ¶ 11). The application for the wiretap indicated that the

             investigation was targeting the conversations of seven unidentified males, as well as five

             other individuals, including Juan Macedo Maldonado, over the target telephones.

             (Hewitt 2 Aff. ¶ 18). SA Hewitt indicated in the application that she believed

             interception of calls on TT5, TT6, and TT7 would lead agents to information concerning

             the same offenses targeted in the interception of TT4 as well as possession of a firearm

             in furtherance of a drug trafficking offense in violation of 18 U.S.C. § 924(c) and the

             unlawful seizure, detention, and threat to kill, injure, and further detain another person
                                                        33


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 34 of 50




             in order to compel another person to do an act, namely to give over United States

             currency as a condition for the release of the person detained in violation of 18 U.S.C.

             §§ 1201, 1203. (Hewitt 2 Aff. ¶ 19). In support of the Application, SA Hewitt submitted

             her affidavit connecting Juan Macedo Maldonado to drug trafficking activity and TT6

             based on information gained during previously intercepted calls. (Hewitt 2 Aff. ¶¶ 34-

             37, 42-47).

             II.   DISCUSSION

                   A.      Probable Cause

                   Defendant contends that evidence obtained as a result of the interception of TT4

             should be suppressed because the application and affidavit supporting the order did not

             supply probable cause that he committed one or more of the subject offenses. Section

             2518(3) of Title III requires that a wiretap order be supported by probable cause to

             believe that (1) an individual is committing, or has committed, or is about to commit an

             offense enumerated in 18 U.S.C. § 2516, (2) that particular communications concerning

             that offense will be obtained through use of the wiretap, and (3) the telephone to be

             intercepted is being used in connection with the commission of such offense. 18 U.S.C.

             § 2518(3). An application for a wiretap must be supported by the same probable cause

             necessary for a search warrant. United States v. Nixon, 918 F.2d 895, 900 (11th Cir.

             1990). Thus, the issuing magistrate is simply to make a practical, commonsense

             decision whether, given all the circumstances set forth in the affidavit, there is a fair

             probability of finding evidence of a crime. Illinois v. Gates, 462 U.S. 213, 238 (1983);

                                                        34


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 35 of 50




             United States v. Brundidge, 170 F.3d 1350, 1352 (11th Cir. 1999); United States v.

             Miller, 24 F.3d 1357, 1361 (11th Cir. 1994); Nixon, 918 F.2d at 900. “[P]robable cause

             deals ‘with probabilities. These are not technical; they are the factual and practical

             considerations of everyday life on which reasonable and prudent men, not legal

             technicians, act.’” Gates, 462 U.S. at 241; Miller, 24 F.3d at 1361. “Courts reviewing

             the legitimacy of search warrants should not interpret supporting affidavits in a

             hypertechnical manner; rather, a realistic and commonsense approach should be

             employed so as to encourage recourse to the warrant process and to promote the high

             level of deference traditionally given to magistrates in their probable cause

             determinations.” Gates, 462 U.S. at 241; Miller, 24 F.3d at 1361; Nixon, 918 F.2d at

             900. The practical nature of the decision to issue a warrant “justifies ‘great deference’

             upon review” and calls for upholding the issuing judge’s findings “even in marginal or

             doubtful cases.” Nixon, 918 F.2d at 900.

                   Defendant’s view that the affidavit in support of the interception of TT4 must

             provide probable cause that he committed one or more of the subject offenses is without

             merit. The Eleventh Circuit has already concluded that the Government does not have

             a duty to establish probable cause as to the interception of calls involving each possible

             interceptee named in an application for a wiretap order; the Government need only

             establish that there was probable cause that the telephone in question is being used in

             an illegal operation. United States v. Domme, 753 F.2d 950, 954 (11th Cir. 1985); see

             also United States v. Nunez, 877 F.2d 1470, 1473 n.1 (10th Cir. 1989); United States v.

                                                        35


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 36 of 50




             Degaule, 797 F. Supp. 2d 1332, 1355 (N.D. Ga. 2011); cf. United States v. Kahn, 415

             U.S. 143, 152-53 (1974) (holding that under 18 U.S.C. § 2518(1)(b)(iv) and 2518(4)(a),

             “when there is probable cause to believe that a particular telephone is being used to

             commit an offense, but no particular person is identifiable, a wire interception order may

             nevertheless, properly issue under the statute” and that “it necessarily follows that

             Congress could not have intended that the authority to intercept must be limited to those

             conversations between a party named in the order and others, since at least in some

             cases, the order might not name any specific party at all”). Thus, probable cause need

             not be provided for unnamed potential interceptees, either. Domme, 753 F.2d at 954 (“A

             wiretap application need not provide probable cause of criminal activity for each person

             named in an application, or even every resident of the place where the wiretap is

             sought.”)

                   Thus, contrary to Defendant’s view, the Eleventh Circuit has already concluded

             that law enforcement does not have to specifically provide probable cause for the

             interception of his communications within the application for authorization of

             interception of TT4. SA Hewitt’s Affidavit only needed to provide probable cause that

             TT4 was being used for an illegal operation. Defendant does not argue that Hewitt’s

             affidavit is deficient in this respect. Indeed, SA Hewitt’s affidavit clearly describes the

             likelihood of the use of TT4 to conduct illegal drug activity. In SA Hewitt’s affidavit,

             she details several examples of what was believed to be drug trafficking activity by

             Perico. (Hewitt Aff. ¶¶ 28-45). SA Hewitt also shows a pattern of Perico using his

                                                         36


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 37 of 50




             telephone to conduct drug-related activity and periodically changing his cell phones,

             which Hewitt explains is typical for individuals involved with drug trafficking. (Hewitt

             Aff. ¶¶ 5, 9-11, 27-30, 32, 40-45). Finally, SA Hewitt’s affidavit sufficiently connects

             Perico as the user of TT4. (Hewitt Aff. ¶¶ 40-45). Under these circumstances, there was

             probable cause to believe that interception of TT4 would yield evidence of the crimes

             enumerated in Hewitt’s Affidavit.

                   B.     Necessity

                   Defendant also argues that the Government did not demonstrate necessity for the

             interception of TT4 and TT5-7 because the supporting affidavits did not contain a full

             and complete statement as to whether other investigative procedures have been tried and

             failed or why they are insufficient. Defendant maintains that all the application does is

             substitute Hewitt’s belief that there is probable cause to believe that some suspects are

             engaged in criminal conduct with the requirement for the particularized necessity for a

             wiretap.

                   Title III permits a district judge to authorize a federal wiretap only when he or she

             determines, on the basis of the facts submitted by the applicant, that “normal

             investigative procedures have been tried and have failed or reasonably appear to be

             unlikely to succeed if tried or to be too dangerous.” 18 U.S.C. § 2518(3)(c). This

             “necessity requirement” of 18 U.S.C. § 2518(3)(c) “is designed to ensure that electronic

             surveillance is neither routinely employed nor used when less intrusive techniques will

             succeed.” United States v. Miller, 431 F. App’x 847, 853 (11th Cir. 2011); United

                                                        37


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 38 of 50




             States v. Van Horn, 789 F.2d 1492, 1496 (11th Cir. 1986). Therefore, an application for

             an order authorizing the interception of wire communications must give a full and

             complete statement as to whether or not other investigative procedures have been tried

             and failed and whether they reasonably appear to be unlikely to succeed if tried or to be

             too dangerous. United States v. Carrazana, 921 F.2d 1557, 1564-65 (11th Cir. 1991).

             “The affidavit in support of a search warrant must simply explain the retroactive or

             prospective failure of several investigative techniques that reasonably suggest

             themselves. However, a comprehensive exhausting of all possible investigative

             techniques is not necessary before applying for a wiretap.” Miller, 431 F. App’x 847,

             853; United States v. De La Cruz Suarez, 601 F.3d 1202, 1214 (11th Cir. 2010); United

             States v. Alonso, 740 F.2d 862, 868 (11th Cir. 1984) ( “Section 2518 was not intended

             to foreclose electronic surveillance until every other imaginable method of investigation

             has been unsuccessfully attempted, but simply to inform the issuing judge of the

             difficulties involved in the use of conventional techniques.”). The district court’s

             determination of necessity is a finding of fact that will not be reversed unless “clearly

             erroneous,” see United States v. Weber, 808 F.2d 1422, 1424 (11th Cir. 1987), and the

             judge to whom the application is made “is clothed with broad discretion in its

             consideration of the application.” Alonso, 740 F.2d at 868-69.

                          1.    TT4

                   In this case, SA Hewitt’s affidavit adequately details the difficulties involved in

             the use of conventional techniques in order to achieve the goals of the investigation.

                                                        38


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 39 of 50




             The affidavit explains that the goals of the investigation are to discover (1) all of the

             individuals in the organization; (2) the current locations of the targets of the

             investigation and their unidentified accomplices; (3) the present operations and scope

             of the drug trafficking activities of the organization in Atlanta and elsewhere; (4) the

             methods of importing and transporting narcotics from Mexico through Texas and other

             areas into Atlanta; (5) methods of disposing of the bulk currency proceeds of drug

             trafficking; (6) the current significant customers of the organization; (7) locations where

             members of the organizations store narcotics and drug proceeds; and (8) and to

             dismantle the organization by convicting the highest level supervisors and leaders and

             seizing their assets. (Hewitt Aff. ¶ 46). SA Hewitt’s affidavit further details why less

             intrusive traditional investigatory methods are not sufficient to achieve the

             investigation’s goals and notes several deficiencies of the investigatory efforts thus far.

             The affidavit explains that pen registers and toll analysis is insufficient as an

             investigative tool because it only provides agents with facts regarding the time, duration,

             and frequency of calls and does not reveal the contents of conversations. (Hewitt Aff.

             ¶¶ 64-66). Without the intercepts, agents cannot understand the significance of such

             communications. (Id.). Additionally, toll analysis and pen registers do not help obtain

             the target subject’s identities because drug dealers commonly subscribe to telephone

             services using fictitious names in order to conceal their identities. (Hewitt Aff. ¶¶ 64).

             The affidavit further explains that the TT4 subscriber information only included a

             default address Sprint/Nextel uses for prepaid phones with no billing address, and the

                                                         39


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 40 of 50




             subscriber information failed to reveal the identity of numerous individuals including

             “Perico.” (Hewitt Aff. ¶ 65).

                   SA Hewitt’s affidavit also explains that physical surveillance was helpful to the

             investigation but insufficient to meet its overall goals because locations necessary to the

             investigation are difficult to observe due to heavy vehicle and pedestrian traffic which

             would bring attention to investigative activities. (Hewitt Aff. ¶¶ 71, 73, 75, 78-80).

             While surveillance reveals some actions of the members of the organization, it does not

             reveal the reasons for the actions or what goes on behind closed doors. (Id.). In

             addition, agents may not be able to be physically present to observe at the times that

             significant things happen, and the targets of the investigation often engage in counter

             surveillance, heat checks, and are conscious of people following them. (Id.). Similarly,

             electronic surveillance is useful for locating and tracking people, but without the benefit

             of intercepted phone calls, agents cannot determine the significance of an individual’s

             actions at such locations. (Hewitt Aff. ¶ 80).

                   The Affidavit explains that while confidential sources have provided information

             helpful to the investigation, their efforts are not sufficient to accomplish the

             investigation’s goals. SA Hewitt explains that based on her experience in MDTOs,

             people working for large scale organizations generally perform discrete tasks and are

             compartmentalized such that the members of the organization are unaware of all the

             other members and their roles within the organization. Additionally, members are often

             unwilling to discuss the structure and operation of the organization with lower level

                                                         40


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 41 of 50




             members. (Hewitt Aff. ¶ 68). Thus, it is unlikely the investigation’s confidential source,

             who does not know every member of the MDTO and who only negotiates with one

             member of the organization, will be able to help meet the investigative goal of

             identifying all of the members of the organization. (Hewitt Aff. ¶ 67). For the same

             reasons, it is unlikely that additional cooperating individuals and undercover agents with

             access to higher echelons of the organization could be developed. (Hewitt Aff. ¶ 68).

             Moreover, because members of such organizations are distrustful of unknown

             individuals and use violence, it would be unlikely for cooperating individuals or

             undercover agents to become more than just a customer of the organization and too

             dangerous for individuals working under cover to try. (Hewitt Aff. ¶¶ 69-70).

                   The affidavit further explains that searches and trash pulls have not been effective

             in helping to reach the higher levels of the organization. (Hewitt Aff. ¶ 84).

             Furthermore, information gained during the searches, such as ledgers and other

             documents, is difficult to decipher without the assistance of information gained during

             intercepted calls. (Hewitt Aff. ¶ 84). The affidavit explains that at the stage of the

             investigation when the affidavit was given, interviews and grand jury subpoenas were

             problematic because they would risk exposing the investigation to people with ties to

             the target subjects and their associates, thereby harming the investigative efforts.

             (Hewitt Aff. ¶¶ 86, 88).           Even if the interviews were conducted, the

             compartmentalization of the organization was expected to limit the scope of the

             information the witnesses could supply and the witnesses would likely not speak freely

                                                        41


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 42 of 50




             due to fear of incriminating themselves or threats of violence from the organization.

             (Hewitt Aff. ¶¶ 87-88). Accordingly, this Court concludes that the Government has

             established necessity for interception of TT4.

                          2.    TT5-TT7

                   Likewise, SA Hewitt provided sufficient information within her affidavit to

             support the conclusion that interception of TT5, TT6, and TT7 was a necessity. SA

             Hewitt’s affidavit, prepared one month after the affidavit submitted in support of the

             intercept to TT4, reports the investigatory goals and the same problems if the

             investigation were to be confined to reliance on less-intrusive methods. (Hewitt 2 Aff.

             ¶¶ 75-101). Accordingly, this Court concludes that the Government established the

             necessity for the interceptions of TT5, TT6, and TT7.

                   C.     Franks Hearing

                   Defendant further contends that he is entitled to a Franks hearing to determine the

             full extent of information gathered from the cooperation of confidential sources and for

             the Government to show how it exhausted the conventional means of investigation

             available to them before seeking a wiretap. Entitlement to a Franks hearing requires a

             defendant to make a substantial preliminary showing establishing that the affiant

             deliberately or recklessly included a false statement or failed to include material

             information, in the warrant affidavit. Franks v. Delaware, 438 U.S. 154, 155-56, 171

             (1978); United States v. Gray, Nos. 12-10990, 12-11856, 2013 WL 6038485, at *7 (11th

             Cir. 2013). Defendant, however, has not made any preliminary showing that SA Hewitt

                                                       42


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 43 of 50




             deliberately or recklessly included a false statement in her affidavit or that she omitted

             material information from her affidavit. Accordingly, Defendant has not demonstrated

             his entitlement to a Franks hearing. See United States v. Wilson, 314 F. App’x 239,

             243-44 (11th Cir. 2009) (rejecting defendant’s argument that he was entitled to a Franks

             hearing to show that the investigation could proceed with the confidential informant and

             without wiretaps because he failed to demonstrate a substantial preliminary showing that

             a false statement was contained in the affidavit); Degaule, 797 F. Supp. 2d at 1361 n.23

             (rejecting defendant’s request for a Franks hearing “to determine the full extent of the

             information gathered from the cooperating individuals in [the] case and the extent and

             potential value of the information and evidence that could have been realized had the

             conventional investigation continued” because the defendant did not make a substantial

             preliminary showing that a false statement or omission, intentionally or with reckless

             disregard for the truth, was included by the affiant in the warrant affidavit).

                   D.     Minimization

                   Defendant contends that law enforcement agents failed to comply with the

             minimization requirement in 18 U.S.C. § 2518(5) in connection with the interceptions

             of TT4-TT7 because given that subject targets included all “others as of yet unknown,”

             the subject target class is unlimited. Defendant further contends that because the targets’

             discussions may be in Spanish, subject to interpretation by the investigative agent for

             their criminal meaning, it would be impossible for the individuals intercepting the calls

             to determine what would define a communication not subject to interception. Under 18

                                                         43


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 44 of 50




             U.S.C. § 2518(5), electronic surveillance must be conducted in such a way as to

             minimize the interception of communications not otherwise subject to interception. 18

             U.S.C. § 2518(5); De La Cruz Suarez, 601 F.3d at 1214-15. Section 2518(5) does not

             forbid the interception of all nonrelevant conversations, but rather instructs law

             enforcement to conduct the surveillance in such a manner as to minimize the

             interception of such conversations. Scott v. United States, 436 U.S. 128, 140 (1978).

             When reviewing a challenge to the government’s minimization efforts, courts are

             required to make an objective assessment of the monitoring agents’ actions in light of

             the facts and circumstances confronting them at the time. United States v. Gonzalez

             Perez, 283 F. App’x 716, 722 (11th Cir. 2008). The standard to be applied when

             analyzing the Government’s action is reasonableness. Van Horn, 789 F.2d at 1501.

                   Defendant’s challenge to the Government’s minimization efforts fails because

             Defendant does not present any specific information tending to show that the

             Government failed to minimize interception of irrelevant calls. A general allegation that

             the government did not comply with statutory minimization requirements is inadequate;

             the defendant must identify particular conversations so that the government can explain

             the reason why the conversation was not minimized. United States v. Carter, 449 F.3d

             1287, 1295 (D.C. Cir. 2006) (rejecting objection to minimization requirement where

             defendant did not identify specific conversations that were not minimized so that the

             government could explain why the conversations were not minimized); United States

             v. Giacalone, 853 F.2d 470, 482 (6th Cir. 1988) (holding that the burden of production

                                                        44


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 45 of 50




             and persuasion rests on person seeking to suppress wiretap evidence on the basis of

             improper minimization and that defendant was not entitled to a hearing on the issue);

             United States v. Lockett, No. 12-11991, 2013 WL 4528941, at *5 (11th Cir. Aug. 28,

             2013); United States v. Richardson, 764 F.2d 1514, 1527 (11th Cir. 1985) (holding that

             “[a] motion to suppress must in every critical respect be sufficiently definite, specific,

             detailed, and nonconjectural to enable the court to conclude that a substantial claim is

             presented” and “must allege facts which, if proven, would provide a basis for relief”);

             United States v. Olmedo, 552 F. Supp. 2d 1347, 1367 (S.D. Fla. Apr. 28, 2008); United

             States v. Duarte-Rosales, No. 1:05-CR-197-6-TWT, 2008 WL 140665, at *3 (N.D. Ga.

             Jan. 11, 2008) (rejecting minimization challenge because the defendant asserted no

             specific facts to suggest that the requirements were not met). Without some showing on

             Defendant’s part, this Court cannot conclude that the Government did not minimize its

             interception of non-pertinent calls or that a hearing should be held to require the

             Government to prove that it properly minimized interception of irrelevant calls.

             Giacalone, 853 F.2d at 483; United States v. Gordon, No. 11-CR-20752, 2013 WL

             461780, at *7-8 (E.D. Mich. Feb. 7, 2013).

                   To the extent that Defendant’s challenge to the Government’s minimization

             efforts should be viewed as a challenge to the procedure for minimization that was to be

             used, Defendant’s challenge still fails. Defendant argues that if the discussions to be

             intercepted are in Spanish, subject to interpretation by the investigative agent for their

             criminal meaning, it is impossible for individuals who are intercepting the calls to

                                                        45


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 46 of 50




             determine what would define a communication not subject to interception. In this case,

             however, according to SA Hewitt’s affidavits and the applications, agents expected the

             intercepted calls to be in Spanish and intended to use Spanish-speaking individuals

             acting under the supervision of investigative or law enforcement officers to conduct the

             interception contemporaneously. (Hewitt Aff. ¶ 91; Hewitt 2 Aff. ¶ 104). Each monitor

             conducting the investigation would review written minimization instructions prepared

             by Government counsel, the affidavits in support of the wiretaps, and the Court Orders

             authorizing the wiretaps as well as sign a form indicating that he has reviewed the

             aforementioned documents and will intercept communications in compliance with the

             Court’s Orders. (Hewitt Aff. ¶ 89; Hewitt 2 Aff. ¶ 102). SA Hewitt’s affidavits also

             explain that interception of communications would be suspended immediately if the

             conversation was not criminal in nature or related to the criminal offenses in the wiretap

             orders. (Hewitt Aff. ¶ 90; Hewitt 2 Aff. ¶ 103). Furthermore, to the extent that a

             communication is conducted in code and the code is not readily interpretable

             contemporaneous to interception, minimization would be accomplished as soon as

             possible after interception. (Hewitt Aff. ¶ 91; Hewitt 2 Aff. ¶ 104). This is acceptable

             under 18 U.S.C. § 2518(5), which provides:

                   In the event that the intercepted communication is in a code or foreign
                   language, and an expert in that foreign language or code is not reasonably
                   available during the interception period, minimization may be accomplished
                   as soon as practicable after interception. An interception under this part may
                   be conducted in whole or part by Government personnel, or by an individual
                   operating under a contract with the Government, acting under the
                   supervision of an investigative or law enforcement officer authorized to
                   conduct the interception.
                                                         46


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 47 of 50




             18 U.S.C. § 2518(5). Defendant, however, does not explain how the procedures were

             inadequate, explain how instructions given to Spanish speaking monitors were

             inadequate, or how Spanish speaking individuals under the supervision of agents would

             not have been able to monitor communications so as to avoid intercepting irrelevant

             communications.

                   Similarly, this Court is unpersuaded by Defendant’s argument that because the

             wiretap procedures allowed for interception of conversations among “others as of yet

             unknown,” they were not properly minimized. The wiretap statue only requires that an

             application for a wiretap include the identity of the person, if known, committing the

             offense and whose communications are to be intercepted. 18 U.S.C. § 2518(1)(b)(iv).

             As recognized by the Supreme Court “the clear implication of this language is that when

             there is probable cause to believe that a particular telephone is being used to commit an

             offense but no particular person is identifiable, a wire interception order may,

             nevertheless, properly issue under the statute.” Kahn, 415 U.S. at 157. Moreover,

             according to the application, affidavit, and Order, the interception of wire

             communications would terminate if it was determined that the conversation was

             unrelated to communications subject to interception under the wiretap statute or if the

             conversations were not criminal in nature. (Attachment B, Order, ¶ 1 (providing that the

             wiretaps would be conducted pursuant to the application); Attachment D, Order, ¶ 1;

             Application for TT4 ¶ 17; Application for TT5-TT7 ¶ 17; Hewitt Aff. ¶ 90; Hewitt 2 Aff.

             ¶ 103). Thus, the fact that the wiretap order allowed interception of calls by others not

                                                        47


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 48 of 50




             yet known does not mean that the government did not comply with statutory

             minimization. United States v. Killingsworth, 117 F.3d 1159, 1165-66 (10th Cir. 1997);

             cf. United States v. Urban, 404 F.3d 754, 773 (3rd Cir. 2005).

                                             MOTION TO SEVER

                   Defendant filed a motion to sever his trial from the trial of his co-defendants in

             this case, pursuant to Bruton v. United States, 391 U.S. 123 (1968), to the extent that any

             of his co-defendants have made statements that refer to or implicate him. Severance is

             not warranted at this time. Rule 8(b) of the Federal Rules of Criminal Procedure allows

             for joinder of defendants where “an indictment charges multiple defendants with

             participation in a single conspiracy and also charges some but not all of the defendants

             with substantive counts arising out of the conspiracy.” United States v. Alvarez, 755

             F.2d 830, 857 (11th Cir. 1985); see also Fed. R. Crim. P. 8(b). “[T]he general rule is

             that [d]efendants indicted together should be tried together, especially in conspiracy

             cases.” United States v. Chavez, 584 F.3d 1354, 1359-60 (11th Cir. 2009); Alvarez, 755

             F.2d at 857. On the other hand, Rule 14 of the Federal Rules of Criminal Procedures

             provides:

                   If the joinder of offenses or defendants in an indictment, an information,
                   or a consolidation for trial appears to prejudice a defendant or the
                   government, the court may order separate trials of counts, sever the
                   defendants’ trials, or provide any other relief that justice requires.

             Fed. R. Crim. P. 14(a). When a court is confronted with a motion to sever, the court

             must “balance any . . . prejudice [to the defendants] against the interest of judicial

             economy.” United States v. Blankenship, 382 F.3d 1110, 1120 (11th Cir. 2004) (internal
                                                         48


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 49 of 50




             quotation marks and citation omitted). The Supreme Court has established a two-step

             test to determine whether a court should grant a motion to sever: (1) the defendant must

             first show that a joint trial will prejudice him; and (2) the defendant must also

             demonstrate that less drastic measures will not suffice. United States v. Browne, 505

             F.3d 1229, 1268 (11th Cir. 2007) (citing Zafiro v. United States, 506 U.S. 534, 539

             (1993), and Blankenship, 328 F.3d at 1122)). Although rare, prejudice may be shown:

             (1) where the defendants rely upon mutually antagonistic defenses; (2) where a co-

             defendant would exculpate the moving defendant in a separate trial, but will not testify

             in a joint trial; (3) where inculpatory evidence will be admitted against one defendant

             that is not admissible against another defendant; and (4) where a cumulative and

             prejudicial “‘spill over’” effect may prevent the jury from making an individualized

             determination as to each defendant based on the evidence presented. Chavez, 584 F.3d

             at 1360-61.

                    Defendant asserts that severance is warranted because his co-defendants gave

             statements to police after their arrests in which they attempt to explain their actions and

             the actions of other defendants. In Bruton, the Supreme Court held that post-arrest

             statements made by non-testifying co-defendants that incriminate other defendants are

             inadmissible into evidence because such statements violate the other defendants’ Sixth

             Amendment rights to confront and cross-examine adverse witnesses. Id., 391 U.S. at

             126.   The Supreme Court concluded that “where the powerfully incriminating

             extrajudicial statements of a codefendant, who stands accused side-by-side with the

                                                         49


AO 72A
(Rev.8/82)
              Case 1:12-cr-00319-TCB-LTW Document 224 Filed 12/20/13 Page 50 of 50




             defendant, are deliberately spread before the jury in a joint trial,” limiting instructions

             by the court will not suffice to eliminate the prejudicial effect of the introduction of such

             statements. Bruton, 391 U.S. at 135-36. Defendant, however, since filing his Motion

             to Sever, has not described the alleged statements, identified which codefendant(s) made

             the statements, or indicated whether such codefendant(s) are going to trial or have pled

             guilty. As such, the undersigned is unable to evaluate Defendant’s Motion or any

             remedial efforts the Government may plan to undertake to avoid a Bruton problem.

             Accordingly, the undersigned DEFERS Defendant’s Motion to Sever to the District

             Court. See United States v. Bushay, 859 F. Supp. 2d 1335, 1383 (N.D. Ga. 2012)

             (magistrate judge deferred motion to sever to district court because defendant’s motion

             did not state which co-defendants made implicating statements nor did it state whether

             such co-defendants were going to trial or had pled guilty); United States v. Escobar, No.

             1:10–CR–86–RWS–ECS, 2011 WL 4708417, at *1 (N.D. Ga. Aug. 26, 2011).

                                                  CONCLUSION

                   Based on the foregoing, Defendant’s Motions to Suppress should be DENIED.

             Docket Entries [121, 122, 158, 159, 207]. Defendant’s Motion to Sever is DEFERRED

             to the District Court for adjudication. Docket Entry [123].

                   SO ORDERED, REPORTED AND RECOMMENDED this 20th day of

             December, 2013.

                                               s/LINDA T. WALKER
                                               LINDA T. WALKER
                                               UNITED STATES MAGISTRATE JUDGE

                                                         50


AO 72A
(Rev.8/82)
